                               UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION


UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )            No. 3:12-00013
                                                    )            JUDGE CAMPBELL
MANILA VICHITVONGSA, et al.                         )

                                                ORDER

        Through prior Orders (Docket Nos. 680, 681), the Court advised the parties that the

undersigned Judge would be unable to preside over the trial in this case, currently set for June 3,

2014, and intended to continue the trial unless the parties objected to a continuance. Defendants

Vichitvongsa and Nickless Whitson have now filed Notices objecting to a continuance (Docket

Nos. 684, 687). Defendant Angela Whitson has filed a Notice indicating she does not object to a

continuance (Docket No. 683). The Government has filed a Response (Docket No. 686), under

seal, in which it argues that it is in the interest of justice to grant a continuance.

        Having received objections from two of the parties, as stated in the prior Orders (Docket

Nos. 680, 681), this matter is REFERRED to Chief Judge Haynes for decision on how to

proceed.

        It is so ORDERED.


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                                                        TODD J. CAMPBELL
                                                        UNITED STATES DISTRICT JUDGE




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